EXHIBIT E




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                      UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF NORTH CAROLINA

                       CIVIL ACTION NO. 7:21-CV-00017

LAMARR ANDRE MCDOW,

          Plaintiff,
                                     DECLARATION OF FONTELLA MARIE
     v.
                                               HOLMES
FONTELLA MARIE HOLMES ,

          Defendant.




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        I, Fontella Marie Holmes, depose and say under penalties of perjury that:

            I. I am over the age of eighteen, have no legal disabilities, and have personal

    knowledge of the facts and information contained herein.

            2. I am a citizen and resident of the State of Washington and am competent to testify in

    this matter.

            3. In November of 2020, I flew to Wilmington, North Carolina from the airport in

    Seattle, Washington to attend a hearing in the Small Claims Court of Brunswick County, for

    which I served as a witness.

            4. On or about December 7, 2020,     r boarded a plan in   Wilmington, North Carolina

    and flew back to the airport in Seattle, Washington to return to my home in the State of

    Washington. 1

            5. I have remained in the State of Washington since my return on or about December

    7, 2020.2

            6. It has come to my attention that an Affidavit of Service has been filed claiming that

    I was personally served with a copy of the Summons and Complaint in Brunswick County

    Superior Court Case No. 20-CVS-157 l on December 11, 2020 in Shallotte, North Carolina.

            7. I was not in Shallotte, North Carolina on December 11 , 2020; rather, I was in the

    State of Washington.

            8. I was not served with a copy of the Summons and Complaint on December 11 , 2020

    in Shallotte, North Carolina.




1A true and accurate redacted copy of my flight itinerary has been attached hereto as Exhibit A.
2A true and accurate redacted copy ofmy Wells Fargo Bank Statement, which shows that I made
numerous purchases at locations in Washington State on December 11 , 2020 is attached hereto as
Exhibit B.
                                                -2-

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                                                                                   ------



        9. I have not been served with a copy of the Summons or Complaint related to this

matter at any time as of the date of this Declaration, whether in this case or the state-court case.

        l 0. Karen Lee McNeill, who resides with my father at 505 Highlands Glen Drive,

Shallotte, North Carolina, 28470 was provided with a copy of the Summons and Complaint in

this matter on December 11, 2020.

        11. Ms. McNeill is not authorized to accept service of legal documents or process on

my behalf, and I do not reside with her or my father at the address above.

        12. I do not reside in the State of North Carolina and have not resided in the State of

North Carolina since at least 2018.

        13. I am a permanent resident of the State of Washington and have been since 2018.

        14. I have a Washington driver's license.

   I declare under penalty of perjury that the foregoing is true and correct.

                                 - Signature Page Follows -




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I make this Declaration the   ·~   day of February, 2021.



                                           '. ~1a.:D1C11W~1~
                                           Fontella Marie Holmes




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          EXHIBIT A




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                                                                 MON, DEC 07, 2020
                                                                 WILMINGTON, NC (ILM) TO ATLAN TA, GA (ATL) TO SEATTLE, WA
                                                                 (SEA)
                                                                 TICKET n • --f'1197
                                                                   MQMs>                                                        2,681
                                                                   MQSs>                                                           2
                                                                   MQDs>                                                        $527

                                                                    BASE MILES                                        2,635
                                                                   _BO
                                                                     _ _NU
                                                                         _ S_ M
                                                                              _ IL_ES_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~ 2J08

                                                                   TOTAL MILES                                           +4,743
                                                                   DEC 07, 2020
                                                                   DL4990: ILM • ATL
                                                                   Posted Dec 07, 2020

                                                                   MQMs>                                                         500
                                                                   MQSs>
                                                                   MQDs)                                                         $78
                                                                   BASE MILES                                                    390
                                                                   BONUS MILES                                                    312
                                                                    Delta Air Lines Platinum Medallion Bonus
                                                                    Bonus MOM                                                      0
                                                                    Bonus M iles                                                 312

                                                                   -TI-CK-ET- NUM~
                                                                                 BE~R
                                                                    FARECLASSPA_ID
                                                                                    =============i
                                                                                     ""'{_F_LO_W
                                                                                                                        ••• t 1~19~7
                                                                                               _ N_>_ _ _ _ _ _ _ _ _ _ _ __
                                                                    REWARD METHOD                            MILEAGE EARNED BASED ON
                                                                                                                         TICKET PRICE

                                                                   DEC 07, 2020
                                                                   OL0337: Al l • SEA
                                                                   Posted Dec 08, 2020

                                                                   MQMs>                                                        2,181




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                                                                   MQSs   >
                                                                   MQDs>                                                        $449
                                                                   BASE MILES                                                  2,245
                                                                 All damaged, defective or recalled lithium batteries, including lithium
                                                                 powered self-balancing transportation devices are not permitted as
                                                                 carry-on or checked baggage.

                                                                 Spare batteries for other devices, fuel cells, and e-cigarettes are
                                                                 permitted in carry-on baggage only. If your carry-on bag contains
                                                                 these items and is gate checked , they must be removed and carried
                                                                 in the cabin. Further information and spedfic guidelines regarding
                                                                 restricted Items can be found here.


                                                                 Passenger Info

                                                                 Name: FONTELLA HOLMES
                                                                 SkyMiles ~    0318
                                                                 Platinum

                                                                 FLIGHT                               SEAT

                                                                 DELTA4990                            OBC

                                                                 DELTA337                             16D


                                                                 Visit delta.com or use the Fly Delta app to view, select or
                                                                 change your seat. If you purchased a Delta Comfort+™seat
                                                                 or a Trip Extra, please visit My Trips to access a receipt of
                                                                 your purchase.




                                                                 Flight Receipt
                                                                 Ticket#: -        1197




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                                                                 Place of Issue:
                                                                 Issue Date: 06DEC20
                                                                               e o,     onte a        o mes
                                                                     #9077970318         I    Platinum Medallion("'

                                                                                 Confirmation# : GG8 RCC

                                                                     "9~....    The Delta CareStandard '"
                                                                   ~            SEE HOW WE'RE SETTING THE STANDARD
                                                                                FOR SAFER TRAVEL AT EVERY STEP>



                                                                 You're all set. If your plans change, you can
                                                                 cancel or modify your itinerary via MyTrips on
                                                                 delta.com prior to departure without any
                                                                 change fees.

                                                                 WE'VE GOT YOU COVERED
                                                                 As always, your safety is our top priority. That's
                                                                 why you'll experience a new standard of care
                                                                 on your upcoming trip. Our Delta CareStandard
                                                                 focuses on keeping surfaces clean, giving you
                                                                 more space, and offering safer service and
                                                                 personal care at every point in your journey.

                                                                 Learn more about the steps we are taking to
                                                                 provide you with the safest experience. We
                                                                 also recommend packjng your own food items,




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                                                                 especially on longer flights, since many airport
                                                                 offerings are limited during this time. Please be
                                                                 ~• trP. tn rP.ViP.w T~A m 1irlP.linP.~ hP.fnrP. hrinninn
          EXHIBIT B




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•              Portfolio By Wells Fargo®
                                                      Questions? Please contact us:
                                                      Wells Fargo Premier Banking Team ×
                                                      Available 24 hours a day, 7 days a week
                                                      Telecommunications Relay Services calls accepted
                                                      Phone: 1-800-742-4932, TTY: 1-800-600-4833
                                                      Spanish: 1-877-727-2932


                                                      Online: wellsfargo.com
                                                      Write: Wells Fargo Bank, N.A.
                                                      P.O. Box 6995
                                                      Portland, OR 97228-6995
         F MARIE HOLMES

                                                      December 31, 2020




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                                                      Other Checking/Prepaid. . . . . . . . . . . . . . . . . . . . 11

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•
Your Portfolio by Wells Fargo overview
Assets
                                                                                      Balance this




   Important Account Information

   "Your Portfolio by Wells Fargo overview" section of your statement is provided for informational and convenience
   purposes. The balances in the Overview section may not match your statement of record for credit and brokerage
   products due to differences in statement periods between this statement and the statement for your credit and/or
   brokerage products. The Overview shows activity and information from (1) deposit, credit, trust and foreign
   exchange accounts with Wells Fargo Bank, N.A., and (2) brokerage accounts with Wells Fargo Advisors, which is a
   trade name used by Wells Fargo Clearing Services, LLC, and Wells Fargo Advisors Financial Network, LLC, Members
   SIPC, registered broker-dealers and separate non-bank affiliates of Wells Fargo & Company; and (3) insurance
   products offered through non-bank insurance agency affiliates of Wells Fargo & Company and underwritten by
   unaffiliated insurance companies.
   Investment and Insurance Products are:
   - Not Insured by the FDIC or Any Federal Government Agency
   - Not a Deposit or Other Obligation of, or Guaranteed by, the Bank or Any Bank Affiliate
   - Subject to Investment Risks, Including Possible Loss of the Principal Amount Invested

   Deposit products offered by Wells Fargo Bank, N.A. Member FDIC.



   Other Wells Fargo Benefits

   Please take a few minutes to review the accounts that are linked to your Portfolio by Wells Fargo program. To see the
   accounts that are linked to your Portfolio program, please go to the section of this statement titled "Your Portfolio by
   Wells Fargo Overview". Or, sign onto Wells Fargo Online and at the top of the Account Summary page, click on
   "Explore Program and Benefits", and this will take you to the Balance and Benefits page. To view the Balance and
   Benefits page from your mobile device, log into the Wells Fargo app and at the top of the Account Summary page,
   tap "Portfolio by Wells Fargo". Linked eligible accounts make up your Portfolio by Wells Fargo statement-ending
   qualifying balance and are used to determine if you are eligible to avoid the monthly service fee, and to get pricing
   discounts and other benefits. If you do not see all of the accounts you would like included in your Portfolio by Wells
   Fargo program, please contact your banker or call the number listed on the first page of this statement for assistance
   with linking the accounts.




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•
Wells Fargo Portfolio Checking
Statement period activity summary                             Account number:
                                                              F MARIE HOLMES
                                                              Wells Fargo Bank, N.A. (Member FDIC)
                                                              NORTH CAROLINA account terms and conditions
                                                              Questions about your account: 1-800-742-4932
                                                              Worksheet to balance your account and General
                                                              Statement Policies can be found towards the
                                                              end of this statement.




Interest you've earned




Transaction history
                                                                     Deposits/      Withdrawals/     Ending Daily
    Date   Description                            Check No.          Additions      Subtractions         Balance




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:) Wells Fargo Portfolio Checking (continued)
                                                                                      Deposits/   Withdrawals/    Ending Daily
    Date    Description                                                   Check No.   Additions    Subtractions       Balance




    12/11   Purchase Authorized On 12/11 Paypal *Theelephantinth VISA                                    56.90
            Direct CA                8093 Card 2180
                      �
    12/11   Purchase u onz       n    1 1 Pay pal "Theelephantinth VISA                                 103.20
            Direct CA                0458 Card 2180
                      �
    12/11   Purchase                  1 1 Paypal *Theelephantinth VISA                                  103.20
            Direct CA�0057 Card 2180
    12/11   Purchase u onze      n    1 1 Pay pal *Theelephantinth VISA                                  51.75
            Direct CA                 940Card 2180
                      �
    12/11   Purchase                  1 1 Pay pal *Theelephantinth VISA                                  62.04
            DirectCA�l65 Card 2180
    12/11   Purchase                  1 1 Paypal *Theelephantinth VISA                                   46.61
            Direct CA                  785 Card 2180
                     �
    12/11   Purchase                  1 1 Paypal *Theelephantinth VISA                                   51.75




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•
ò Wells Fargo Portfolio Checking (continued)
                                                                                           Deposits/   Withdrawals/   Ending Daily
         Date    Description                                                   Check No.   Additions   Subtractions       Balance




         12/14

         12/14

         12/14

         12/14
                 MI
                      -
                 Purchase Authorized On 12/11 Safeway.Com #1966




                   --
                 253 638 7275 WA

                                  1751 Card 2180
                                                0511 Card 2180
                 Purchase Authorized On 12/11 Walmart Grocery 800 966 6546
                 AR
                 Purchase Authorized On 12/11 Walmart Grocery 800 966 6546
                 AR               8190 Card 2180
                 Purchase Authorized On 12/11 Sp * Knotlesskay Httpsknotless
                                  5959 Card 2180
                                                                                                             72.23

                                                                                                            148.05

                                                                                                             10.00

                                                                                                            114.94




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•
ò Wells Fargo Portfolio Checking (continued)
                                                                   Deposits/   Withdrawals/   Ending Daily
         Date   Description                            Check No.   Additions   Subtractions       Balance




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•
ò Wells Fargo Portfolio Checking (continued)
                                                                   Deposits/   Withdrawals/   Ending Daily
         Date   Description                            Check No.   Additions   Subtractions       Balance




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•
ò Wells Fargo Portfolio Checking (continued)
                                                                   Deposits/   Withdrawals/   Ending Daily
         Date   Description                            Check No.   Additions   Subtractions       Balance




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•
ò Wells Fargo Portfolio Checking (continued)
                                                                                                                              Deposits/        Withdrawals/        Ending Daily
         Date        Description                                                                        Check No.             Additions        Subtractions            Balance




         Key to symbols: < Business to Business ACH: If this is a business account, this transaction has a return time frame of one business day from post date.
                         This time frame does not apply to consumer accounts.




   Important Account Information

   As a reminder, Portfolio by Wells Fargo monthly service fees are calculated using the combined month end balances
   of all qualifying accounts linked to your Portfolio by Wells Fargo program. If you do not meet the minimum balance
   requirements*, the standard monthly service fee of $30 will be assessed to your primary checking account on about
   the 2nd business day following month end. This fee will appear in the transaction history section for the primary
   checking account on your next month end statement.

   *$25,000 in any combination of qualifying linked bank deposit accounts (checking, savings, time accounts (CDs),
   FDIC-insured IRAs) or $50,000 in any combination of qualifying linked bank, brokerage (available through our
   brokerage affiliate Wells Fargo Advisors®) and credit balances (including 10% of mortgage balances).
   Investment and Insurance Products are:
   - Not Insured by the FDIC or Any Federal Government Agency
   - Not a Deposit or Other Obligation of, or Guaranteed by, the Bank or Any Bank Affiliate
   - Subject to Investment Risks, Including Possible Loss of the Principal Amount Invested

   Deposit products offered by Wells Fargo Bank, N.A. Member FDIC.
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•
ò Wells Fargo Portfolio Checking (continued)

   Other Wells Fargo Benefits

   The benefit of having no fee cashier's checks and money orders is no longer limited to only your primary Wells Fargo
   Portfolio Checking account within the Portfolio by Wells Fargo program. Those fees are waived if you have any
   qualified Consumer account that offers no fee cashier's checks or money orders as an account benefit.




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•
Wells Fargo Everyday Checking
                                                    Account number:
                                                    F MARIE HOLMES
                                                    Wells Fargo Bank, N.A. (Member FDIC)
                                                    NORTH CAROLINA account terms and conditions
                                                    Questions about your account: 1-800-742-4932
                                                    Worksheet to balance your account and General
                                                    Statement Policies can be found towards the
                                                    end of this statement.




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•
Wells Fargo Platinum Savings
Statement period activity summary                            Account number:
                                                             FONTELLA M HOLMES
                                                             Wells Fargo Bank, N.A. (Member FDIC)
                                                             NORTH CAROLINA account terms and conditions
                                                             Questions about your account: 1-800-742-4932
                                                             Worksheet to balance your account and General
                                                             Statement Policies can be found towards the
                                                             end of this statement.




Interest you've earned




Transaction history
                                                                    Deposits/     Withdrawals/      Ending Daily
         Date   Description                                         Additions     Subtractions          Balance




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•
Worksheet to balance your checking account
1. Go through your check register and mark each check (this includes               2. Using the chart below, list any outstanding, converted or substitute
cancelled, converted and substitute checks that may appear on your                 checks, as well as any ATM withdrawals, payments or any other
statement), withdrawal, ATM transaction, payment, deposit or other credit          withdrawals (including any from previous months) which are listed in your
listed in the "Transaction history" section of your statement. Be sure your        register but are not shown on your statement.
register shows any interest or dividends paid into your account and any
service charges, automatic payments or transfers withdrawn from your               3. Balance your account by filling in the spaces below.
account during this statement period.


/ ENTER

•A The ”ending balance“
shown on your statement                                    $                           Items outstanding

/ ADD                                                                                  Check number                  Amount
                                      $
•B Any deposits listed in
your register or transfers into       $
your account which are not            $
shown on your statement
                                      $
                                      $               • $
/ CALCULATE SUBTOTAL
             • •
(Add parts A and B )                                       $

/ SUBTRACT
•C Total of outstanding
checks and withdrawals from
the chart at right                                         -$                 f-

/ CALCULATE
ENDING BALANCE
         •       •
(Part A + Part B - Part C )
This amount should be the
                           •
same as the current balance
shown in your check register.                              $
                                                                                   ~   ~


                                                                                           Total                     $


General statement policies for Wells Fargo Bank
n To dispute or report                    n Checking account information. After                         1. Tell us your name and account number (if any).
inaccuracies in information we            balancing your checking account,please report
have furnished to a Consumer              any differences to us as soon as possible but no              2. Describe the error or the transfer you are
Reporting Agency about your               later than within 30 days. Special provisions,                unsure about, and explain as clearly as you can
accounts. You have the right to           including a reporting period of up to 60 days,                why you believe it is an error or why you need
dispute the accuracy of                   apply if the difference involves an electronic funds          more information.
information that Wells Fargo Bank,        transfer. These provisions are explained below.
N.A. has furnished to a consumer                                                                        3. Tell us the dollar amount of the suspected
reporting agency by writing to us         n In case of errors or questions about your                   error.
at Overdraft Collection and               electronic transfers, telephone us at the number
Recovery, P.O. Box 5058, Portland,        printed on the front of this statement or write us at         We will investigate your complaint and will
OR 97208 5058. Please describe            Wells Fargo Bank, P.O. Box 6995, Portland, OR                 correct any error promptly. If we take more than
the specific information that is          97228 6995 as soon as you can, if you think your              10 business days to do this, we will credit your
inaccurate or in dispute and the          statement or receipt is wrong or if you need more             account for the amount you think is in error, so
basis for the dispute along with          information about a transfer on the statement or              that you will have the use of the money during the
supporting documentation. If you          receipt. We must hear from you no later than 60               time it takes us to complete our investigation.
believe the information furnished         days after we sent you the FIRST statement on
is the result of identity theft,          which the error or problem appeared.                          n Deposit and credit products offered by Wells
please provide us with an identity                                                                      Fargo Bank, N.A., Member FDIC.
theft report.
©2012 Wells Fargo Bank, N.A. All rights reserved. NMLSR ID 399801
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